         Case 1:21-mj-00010-GMH Document 1-1 Filed 01/07/21 Page 1 of 2




                                    STATEMENT OF FACTS

On Wednesday, January 6, 2021, I was on duty, in full uniform, serving as part of Civil
Disturbance Unit (CDU) 53 deployed to U.S. Capitol grounds in response to a mass
demonstration where protesters had stormed the U.S. Capitol.

On January 6, 2021, a joint session of the United States Congress convened at the United States
Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session, elected
members of the United States House of Representatives and the United States Senate were meeting
in separate chambers of the United States Capitol to certify the vote count of the Electoral College
of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint session
began at approximately 1:00 p.m. Vice President Mike Pence was present and presiding in the
Senate chamber.

With the joint session underway and with Vice President Mike Pence presiding, a large crowd
gathered outside the U.S. Capitol. Temporary and permanent barricades surround the exterior of
the U.S. Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd
away from the Capitol building and the proceedings underway inside. At approximately 2:00 p.m.,
certain individuals in the crowd forced their way through, up, and over the barricades and officers
of the U.S. Capitol Police, and the crowd advanced to the exterior façade of the building. At such
time, the joint session was still underway and the exterior doors and windows of the U.S. Capitol
were locked or otherwise secured. Members of the U.S. Capitol Police attempted to maintain order
and keep the crowd from entering the Capitol; however, shortly after 2:00 p.m., individuals in the
crowd forced entry into the U.S. Capitol, including by breaking windows. Shortly thereafter, at
approximately 2:20 p.m. members of the United States House of Representatives and United States
Senate, including the President of the Senate, Vice President Mike Pence, were instructed to—and
did—evacuate the chambers. Accordingly, the joint session of the United States Congress was
effectively suspended until shortly after 8:00 p.m. Vice President Pence remained in the United
States Capitol from the time he was evacuated from the Senate Chamber until the session resumed.

After several hours of attempting to remove demonstrators from Capital grounds, at approximately
1800 hours, CDU officials increased their efforts by broadcasting over a loud speaker that the
demonstrators were in violation of the mayor’s curfew order. They continued to broadcast that
message for approximately one hour. At approximately 1920 hours, a combined effort involving
MPD CDU and DC National Guard troops began to encircle the remaining crowd, located on the
grounds of the U.S. Capitol Building at the U.S. Capitol Visitor Center, so as to begin mass arrest
procedures for the remaining demonstrators who refused to leave.

District of Columbia Mayor Muriel Bowser declared a public emergency in the District
of Columbia (Mayor’s Order 2021-001, pursuant to 24 DCMR § 2203.2), which resulted
in a District-wide curfew commencing at 6:00 p.m. on Wednesday, January 6, 2012 and ending
at 6:00 a.m. on Thursday January 7, 2021.

At approximately 1925 hours (7:25p.m.), I was assisting escorting individuals past an MPD line
when I noticed a man, later identified by his Maryland driver’s license as CHRISTOPHER
ALBERTS, to be slow in responding to orders to leave the premises. As I approached ALBERTS
        Case 1:21-mj-00010-GMH Document 1-1 Filed 01/07/21 Page 2 of 2




from his rear, I noticed a bulge on ALBERTS’ right hip. Based on my training and experience, I
recognized the bulge was consistent with that of a hand gun. While pushing ALBERTS towards
the line, I tapped the bulge with my baton and felt a hard object that I immediately recognized to
be a firearm. At the time, ALBERTS was also wearing a bullet-proof vest and carrying a back-
pack.

At that point, I told two MPD officers next to him that ALBERTS had a firearm on his person.
ALBERTS, apparently hearing that, immediately tried to flee, but I was able to detain him with the
help of two other officers. A black Taurus G2C 9mm (Serial#AAL085515) was recovered from
D-1’s right hip. Additionally, a separate magazine was located on D-1’s left hip. Both the gun and
the spare magazine were in held in two separate holsters. The handgun had one round in the
chamber with a twelve round capacity magazine filled with twelve rounds; the spare magazine
also had a twelve round capacity and was filled with twelve rounds. MPD Officers also seized a
gas-mask from the defendant’s person as well as the defendant’s backpack containing a pocket-
knife, one packaged military meal-ready to eat (MRE), and one first-aid medical kit.

The MPD Gun Recovery Unit was dispatched and ALBERTS was subsequently placed under
arrest for Carrying a Pistol without a License, Possession of a firearm on Capital Grounds, Curfew
Violation, Possession of Unregistered Ammunition, and Possession of a High Capacity
Ammunition Feeding Device, and was transported to 5D for processing.

While in custody at the Fifth District ALBERTS was advised of his Miranda rights, which he
waived. ALBERTS stated that he was in possession of the firearm for personal protection and he
did not intend on using the firearm to harm anyone.

        Based on the foregoing, I submit that there is probable cause to believe that the ALBERTS
violated 40 U.S.C. § 5104(e)(1)(A)(i), which makes it a crime to, among other things, carry or
have readily accessible a firearm or other dangerous weapon on Capitol Grounds.




                                                    _________________________________
                                                    OFFICER DALLAN HAYNES
                                                    METROPOLITAN POLICE
                                                    DEPARTMENT

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 7th day of January 2021.
                                                                         Digitally signed by G. Michael
                                                                         Harvey
                                                                         Date: 2021.01.07 13:42:53 -05'00'
                                                    ___________________________________
                                                    G. MICHAEL HARVEY
                                                    U.S. MAGISTRATE JUDGE
